                                                                        FILED
                                                                        3/3/23 12:27 pm
                      IN THE UNITED STATES BANKRUPTCY COURT             CLERK
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA           U.S. BANKRUPTCY
                                                                        COURT - :'3$
IN RE:

JAISON KELLY,                         Bankruptcy No. 23-20371-GLT

                 Debtor.              Chapter 13

JAISON KELLY,                         Related
                                      Documentto Dkt.
                                                  No.No. 15

                 Movant,              Related to Doc. Nos. 15,18, 21, 22
         vs.

MARK MCQUAIDE,

                 Respondent.

                                      ORDER

         AND NOW, this 3rd day of March 2023, upon consideration of the Emergency

Motion to Enforce the Automatic Stay Pursuant to 11 U.S.C. § 362 and the Response

thereto, and following a hearing on March 2, 2023 at 2:00 PM, it is hereby

ORDERED, ADJUDGED, and DECREED that Respondent shall make the real property

located at 527 Seavey Road, Pittsburgh, PA 15209, available to the Movant for the

purpose of Movant removing his personal property located therein on March 8, 2022

and March 9, 2022 from 9 AM to 9 PM. Any personal property left in the real property

after March 9, 2023, will be deemed abandoned.
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                                      Gregory L. Taddonio
                                                 Tad
                                                   a donio
                                      Chief United
                                                ed
                                                 d States Bankruptcy Judge




Case Administrator to serve:
Debtor
Brian C. Thompson, Esq.
Ryan Cooney, Esq.
